         Case 2:19-cr-00159-RSL Document 238 Filed 04/15/22 Page 1 of 3




                                                                      Honorable Robert S. Lasnik

                          UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE

  UNITED STATES OF AMERICA,

                 Plaintiff                           NO. CR19-159-RSL

                     v.                              PROTECTIVE ORDER

  PAIGE A. THOMPSON,

                 Defendant.



       Having reviewed the Defendant’s Unopposed Motion for Entry of a Protective Order, the
Court hereby enters the following Order:
                                    PROTECTIVE ORDER

       1.      Pursuant to Federal Rule of Criminal Procedure 16(d)(1), this Order governs all
health records, including mental health records, and all materials relating to any mental health
evaluation of Paige Thompson in any format (written or electronic) that is produced to the
United States (“Government”) in the above-captioned case and made subject to this Order by
Paige Thompson. Any material produced by Ms. Thompson shall be used exclusively for the
purpose of evaluating Ms. Thompson and rebutting Ms. Thompson’s mental health defense.
       2.      The “Government,” as used in this Order, shall be limited to attorneys of record
for the United States and anyone working on this matter under the direct supervision of the
attorneys of record, to include attorneys, Dr. Kenneth Muscatel, paralegals, law clerks, legal
assistants, interns, and administrative staff and contractors. Government attorneys shall inform
any person to whom disclosure of covered protected discovery materials is made of the existence
and terms of this Order. Members of the Government team shall treat material designated as
“DEFENSE CONFIDENTIAL” consistent with the requirements set forth in this Order, and
shall not provide copies of, or access to, such material to any persons outside of the Government
team other than those persons authorized in this Order to receive access to such materials.
           Case 2:19-cr-00159-RSL Document 238 Filed 04/15/22 Page 2 of 3




       3.      “Protected Material” means any document or information that has been
designated by Ms. Thompson as “DEFENSE CONFIDENTIAL” pursuant to this Order.
Documents that quote, summarize, or contain such Protected Material (e.g., discovery responses,
transcripts, correspondence, and court filings) must similarly be treated as Protected Material.
Any person who receives access to any Protected Material shall be bound by this Order.
       4.      Receiving parties of Protected Material shall exercise at least the same degree of
care in the storage, custody, or use of Protected Material as they would apply to their own
material of the same or comparable confidentiality and sensitivity, storing and maintaining
Protected Material in a manner designed to prevent loss, and misuse, and unauthorized access,
disclosure, alteration, and destruction.
       5.      The defense shall designate Protected Material as DEFENSE CONFIDENTIAL
by affixing a legend or stamp on such document, information, or material or otherwise
designating such material in writing.
       6.      If the Government disagrees with the designation of any Protected Material, it
shall notify the defense in writing of the disagreement, identify with particularity each document
and file at issue, and state the basis for the challenge. The Government, at any time after
attempting to resolve the matter by agreement with the defense, may apply to the Court for a
ruling that information designated as DEFENSE CONFIDENTIAL is not entitled to protected
treatment under this Order.
       7.      All Protected Material that is filed with the Court in connection with any pre-trial,
trial, sentencing, or other proceedings, shall be filed under seal and shall remain sealed until
otherwise ordered by this Court, unless otherwise agreed upon by the Government and the
defense.
       8.      This Order shall remain in effect upon conclusion of this action, and any habeas
proceeding filed within a year of the conclusion of this action, and any appeal from either. The
Government must thereafter return to Ms. Thompson or destroy all Protected Material produced
pursuant to this Order. In the event the Government believes that it needs to maintain the
material for a longer period, this Protective Order shall remain in effect until the Government
returns or destroys the material. The Government may provide the material to any attorney
representing the United States in a timely habeas action filed by Ms. Thompson, provided that
that attorney agrees to be bound by this Protective Order.




                                                  2
         Case 2:19-cr-00159-RSL Document 238 Filed 04/15/22 Page 3 of 3




       9.       This Order may be modified, as necessary, by filing with the Court a Stipulated
Order Modifying the Protective Order, or by order of the Court. In the event compliance with
this Order imposes an unworkable burden on the Government, the Government shall bring any
concerns about the terms of the Order to the attention of the defense. The parties shall then meet
and confer with the intention of finding a mutually acceptable solution. In the event that the
parties cannot reach such a solution, the Government shall bring any concerns about the scope or
terms of the Order to the attention of the Court.
       10.      Nothing in this Order should be construed as imposing any obligations on the
Government or the Defendant that are different from those imposed by case law and Rule 16 of
the Federal Rules of Criminal Procedure, and the Local Criminal Rules.


       DATED this 15th day of April, 2022..




                                                    ROBERT S. LASNIK
                                                    United States District Judge




Presented by:


s/ Mohammad Ali Hamoudi
s/ Christopher Sanders
s/ Nancy Tenney
Assistant Federal Public Defenders
s/ Brian Klein
Baker Marquart LLP

Attorneys for Paige Thompson




                                                    3
